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UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF NEW YORK

                                                                  1:18-CV-05628-SJ-ST

                                                                  NOTICE OF
                                                                  APPEARANCE




       PLEASE TAKE NOTICE, that T. Austin Brown, of Counsel attorney at Jones Law Firm,

P.C., hereby enters his appearance on behalf of the PLAINTIFFS, in the above-entitled action. I

am admitted or otherwise authorized to practice in this Court.

Dated: New York, New York
       January 30, 2023

                                                                 /S/___________________
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                                                                 Of-Counsel
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